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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

______________________________
                              )
UNITED STATES OF AMERICA )
                              )
      v.                      )
                              )              Case No. 19-mj-02257-MBB
TANMAYA KABRA,                )
            Defendant.        )
                              )
______________________________)

           MOTION TO EXCLUDE TIME UNDER THE SPEEDY TRIAL ACT

       The Government, by and through undersigned counsel, hereby moves the Court to exclude

the time under the Speedy Trial Act between August 5, 2019 and August 23, 2019 pursuant to

18 U.S.C. §§ 3161(h)(1)(D), (H). The defendant, Tanmaya Kabra, was arrested on August, 4,

2019. On August 5, 2019, the Government moved for an order of detention pending trial pursuant

to 18 U.S.C. § 3142(f)(2).     Dkt. No. 10.     The court held an evidentiary hearing on the

Government’s motion on August 7, 2019 and, at the conclusion of the hearing, took the matter

under advisement. Dkt. No. 13. On August 23, 2019, the Court issued an Order granting the

Government’s motion for detention. Dkt. No. 19.

       Periods of delay “resulting from any pretrial motion, from the filing of the motion through

the conclusion of the hearing on, or other prompt disposition of, such motion” and “attributable to

any period, not to exceed thirty days, during which any proceeding concerning the defendant is

actually under advisement by the court” “shall be” excluded from the calculation of time under the

Speedy Trial Act. 18 U.S.C. §§ 3161(h)(1)(D), (H).

       The Government accordingly requests that the Court enter an Order excluding the time

from August 5, 2019 through August 23, 2019.
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       Undersigned counsel conferred with counsel for Mr. Kabra concerning the relief requested

in this Motion. Counsel for the defendant indicated that this request is not assented-to.

                                                       Respectfully submitted,

                                                       UNITED STATES OF AMERICA,

                                                       By its attorney,

                                                       ANDREW E. LELLING
                                                       United States Attorney

                                                       /s/ Chris Looney
                                                       Christopher Looney
                                                       Assistant United States Attorney
                                                       408 Atlantic Avenue, Suite 530
                                                       Boston, MA 02210
                                                       617.748.3287

Dated: August 23, 2019


                                 CERTIFICATE OF SERVICE

        Undersigned counsel certifies that this document filed through the ECF system will be
sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF) and paper copies will be sent to those indicated as non-registered participants.

                                               /s/ Chris Looney
                                               Christopher Looney
                                               Assistant United States Attorney

Dated: August 23, 2019




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